






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-04-249 CR


____________________



BRUCE ALBERT KIRK, Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the Criminal District Court


Jefferson County, Texas


Trial Cause No. 91575






MEMORANDUM OPINION (1)


	Bruce Albert Kirk was convicted and sentenced on an indictment for failure to
comply with sex offender registration requirements.  Kirk filed a notice of appeal on May
17, 2004.  The trial court entered a certification of the defendant's right to appeal in which
the court certified that this is a plea-bargain case and the defendant has no right of appeal. 
See Tex. R. App. P. 25.2(a)(2).  The trial court's certification has been provided to the
Court of Appeals by the district clerk.

	On June 2, 2004, we notified the parties that the appeal would be dismissed unless
an amended certification was filed within thirty days of the date of the notice and made a
part of the appellate record.  See Tex. R. App. P. 37.1.  The record has not been
supplemented with an amended certification.  Because a certification that shows the
defendant has the right of appeal has not been made part of the record, the appeal must be
dismissed.  See Tex. R. App. P. 25.2(d).

	Accordingly, we dismiss the appeal for want of jurisdiction.

	APPEAL DISMISSED.

								PER CURIAM


Opinion Delivered July 22, 2004

Do Not Publish

Before McKeithen, C.J., Burgess and Gaultney, JJ.
1. Tex. R. App. P. 47.4.


